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                   United States District Court
                     District of Massachusetts

________________________________
                                 )
UNITED STATES OF AMERICA,        )
                                 )
          v.                     )
                                 )       Criminal No.
FELIX SERRANO, ARNALDO CASTRO,   )       08-10298-DPW
JOSE M. MARRERO and CARLOS URDAY )
                                 )
          Defendants.            )
________________________________ )

                        MEMORANDUM & ORDER

GORTON, J.

     The defendants in this case are charged with one count of

conspiracy to possess with intent to distribute, and conspiracy

to distribute, cocaine and heroin in violation of 21 U.S.C.

§§ 841(a)(1) and 846.   One of the defendants, subsequently joined

by two co-defendants, has moved to suppress evidence obtained

through electronic monitoring (and evidence derivative of such

monitoring) on the grounds that the subject wiretap warrant was

not supported by probable cause and did not contain a full and

complete statement of necessity.     The motions were referred to

this session because United States District Judge Douglas P.

Woodlock, who is presiding over all other aspects of this case,

approved the wiretap warrants at issue.




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I.   Background

     A.   Factual Background

     In connection with a suspected drug distribution conspiracy,

law enforcement officials sought and obtained warrants to conduct

electronic monitoring of various telephone numbers.        The

defendant Felix Serrano (“Serrano”), also known as “Tato,”

challenges the warrants which authorized the monitoring of two of

those telephone numbers, 207-423-9055 (“Target Telephone #2”) and

203-278-9108 (“Target Telephone #3”).      Those warrants were both

obtained based, in part, on information collected during the

monitoring of a third telephone number, 508-345-3397 (“Target

Telephone #1”), used by Serrano’s co-defendant, Carlos Urday

(“Urday”).

          1.      Target Telephone #1

     On May 27, 2008, Special Agent Joseph Tamuleviz

(“Tamuleviz”) of the United States Drug Enforcement Agency (“the

DEA”) applied for and received authorization to electronically

monitor Target Telephone #1, a cellular phone used by the

defendant Urday.    At the time of that application, Tamuleviz had

17 years of experience as a DEA special agent and had

participated in over 100 narcotics investigations.        By virtue of

his training and experience he was aware that drug traffickers

commonly use cellular phones and speak in coded language.

     The DEA began investigating Urday in April, 2007, after


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learning from a confidential informant that he was distributing

cocaine from his auto body shop in Brockton, Massachusetts.

Tamuleviz’s affidavit in support of the wiretap application

presented information acquired from two confidential informants,

through physical surveillance and through controlled buys with

law enforcement.   The affidavit also stated that Urday was

suspected of purchasing cocaine from a supplier in the New York

City area.   Based on the detailed observations presented in the

affidavit and on Tamuleviz’s representation that other

investigative techniques had been (or would be) unsuccessful, a

wiretap warrant issued for Target Telephone #1 on May 27, 2008.

     On June 25, 2008, Tamuleviz applied for and received

authorization to continue monitoring Target Telephone #1.         In his

affidavit in support of that application he stated that

monitoring of Target Telephone #1 had revealed that Urday was

buying drugs from a local supplier referred to as “Tato.”

          2.    Target Telephone #2

     On July 8, 2008, Tamuleviz applied for and received

authorization to monitor Target Telephone #2, which was believed

to be used by Urday’s drug supplier, known to law enforcement

only as Tato.   In his affidavit in support (which incorporated

his previous affidavits), Tamuleviz stated that monitoring of

Target Telephone #1 had revealed a number of calls to Target

Telephone #2 and that the content of those calls suggested that


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the user of Target Telephone #2 was supplying drugs to Urday.

     For example, the affidavit stated that on May 31, 2008,

Urday placed a call to Tato on Target Telephone #2 and asked “Is

there meat to sell?”   Tato responded “yeah” and the two arranged

to meet at Urday’s house later that day.       Based on his training

and experience, Tamuleviz concluded that Urday was using “meat”

as a code word for cocaine and that the call was consistent with

a low-level cocaine distributor “ordering up” from his source of

supply.   Tamuleviz had previously heard Urday use coded language

to refer to drugs when arranging a controlled buy with an

informant.

     On June 13, 2008, Urday received a call on Target Telephone

#1 from Target Telephone #2.     In that call Urday stated “I need

two tennis balls, can you bring them down for me tomorrow?”           Tato

responded that he would send “Walter” to Urday’s house the

following morning.   Based on that call law enforcement agents set

up surveillance at Urday’s house.       The next morning Tato called

Urday from Target Telephone #2 and informed Urday that “the guy

is going to be there in like ten minutes” to which Urday

responded “Yeah, everything is set.      Ask him to knock on the back

door.”

     Shortly after that call agents observed a vehicle registered

to Felix Serrano drive up at Urday’s house.       A man got out of the

passenger seat, went around the back of the house and emerged


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with Urday a few minutes later before getting back in the car to

leave.   Agents followed the car and arranged for a traffic stop

by the Massachusetts State Police.      Although a search of the car

revealed no drugs, police did discover $1,000 in cash on the

occupants and learned that the passenger, Victor M. Rosado

Vazques (“Rosado Vazques”), was then under indictment in Plymouth

County Superior Court for trafficking in cocaine.        Tamuleviz also

concluded that Rosado Vazques was the “Walter” referred to by

Tato and was acting as Tato’s cocaine courier.

     Several calls later that month also led Tamuleviz to

conclude that Tato was supplying drugs to Urday.        On June 26 and

28, 2008, Urday, using Target Telephone #1, called Target

Telephone #2 and discussed with Tato whether his “friends” had

arrived yet and arranged to have “it” delivered to Urday’s house.

Police also intercepted a call made to Target Telephone #1 on

June 28, 2008, from Walter in which Urday instructed Walter to

“go to the back of the house where the red shed is, the padlock

is open, put it in there to the side” and told Walter that he

would give Tato the money the next day.      On that same day Tato

called Urday using Target Telephone #2 and had a conversation

about giving him money.

     As a result of the intercepted calls between Tato and Urday,

the government subpoenaed toll records for, and obtained a court-

authorized pen register on, Target Telephone #2.        Those records


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revealed that Target Telephone #2 had been used to make numerous

calls to a telephone being used by Walter (identified as Ramon

Vasquez) and two calls to James Ramirez, who was then under

active investigation for dealing cocaine.

     In addition to discussing those observations, Tamuleviz’s

affidavit further described why normal investigative techniques

had failed or would not be useful.      In particular, the affidavit

noted, that despite the investigation of Urday (and the

intercepted calls on Target Telephone #1), law enforcement had

been unable to ascertain the true identity of Tato.

Consequently, physical surveillance and other traditional forms

of investigation were not possible.      Moreover the physical

surveillance of Urday proved insufficient because he conducted

transactions out of the sight of agents.

           3.   Target Telephone #3

     On July 29, 2008, Tamuleviz applied for and received

authorization to monitor Target Telephone #3, which was also used

by Tato.   In his affidavit in support of the application (which

incorporated by reference his previous affidavits) Tamuleviz

stated that on July 10, 2008, shortly after the authorization to

monitor Target Telephone #2, Tato called Urday from Target

Telephone #3 and stated “Hey Carlos, this is Tato’s new number”

and “It’s the new number, I changed the number.”        Immediately

after that call Urday called Target Telephone #3 and, after Tato


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answered, said “Yeah, I just wanted to be sure that this was the

number.”   In calls from Target Telephone #2 to other numbers Tato

stated “I’m going to call you from another number, I changed it.”

He would then immediately call from Target Telephone #3

(according to the pen register for that number).

     Over the course of the next few days agents intercepted

several calls between Urday and Target Telephone #3 which Special

Agent Tamuleviz believed concerned drug deliveries and payments.

For example, during one call on July 15, 2008, Urday said to Tato

“Tomorrow when you send to collect the money that I have to send

you . . . Send me a little ball.     I need a little ball.”

     As with his July 8, 2008, application, Tamuleviz’s affidavit

detailed why traditional forms of surveillance had been, and

would likely continue to be, unable to uncover the full scope of

the drug conspiracy.

           4.   Search Warrants

     Through the monitoring of Target Telephones #2 and #3, DEA

agents learned that Tato is the defendant Felix Serrano.         On

August 22, 2008, Special Agent Tamuleviz sought and obtained

warrants to search Serrano’s residence located at 93 Draper

Street, Dorchester, Massachusetts, and another property, 43 Dana

Avenue, Hyde Park, Massachusetts, which agents suspected was

being used to stash drugs.    Tamuleviz’s affidavit in support of

both warrants included substantive information obtained from the


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monitoring of Target Telephones #2 and #3.

     That information included conversations in which Serrano

instructed a suspected supplier to “pass by and pick up some

garbage” at the big, three-story house and calls in which he

instructed that individual that he was “at number 93.” Physical

surveillance of 93 Draper Street revealed individuals arriving at

that address at the appointed times.

     Intercepted calls and physical surveillance also led agents

to believe that 43 Dana Avenue was being used as a stash house

referred to by Serrano and his associates as “the little cave.”

For example, agents intercepted calls in which Serrano agreed to

send a “little motorcycle” to an unidentified male.        Tamuleviz

surmised that a “little motorcycle” was code for cocaine.

Following that call, agents observed one of Serrano’s suspected

couriers, the defendant Arnaldo Castro (“Castro”), also known as

“Eano,” leave 93 Draper Street and drive to 43 Dana Avenue.           Soon

after arriving, Castro was called by Serrano and given detailed

instructions on how to put “it” inside a “bag . . . so the white

color doesn’t show.”

     In another telephone call, which occurred shortly after one

of Serrano’s couriers had been stopped by police, Serrano

instructed Castro to pack up stuff from the little cave and bring

it to 93 Draper Street.    Following that call agents observed

Castro arrive at Draper Street and carry three large black trash


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bags into Serrano’s residence.

      Based on the statements in Tamuleviz’s affidavit, warrants

were issued for both 93 Draper Street and 43 Dana Avenue.

Searches of both addresses resulted in the seizure of large

quantities of drugs and other evidence of drug trafficking.

      B.    Procedural History

      The defendants were named in a sealed criminal complaint on

August 22, 2008, and arrested on September 2, 2008.         An

indictment was handed down on October 1, 2008, and was followed

by a superseding indictment on December 17, 2008.

      On February 18, 2009, the defendant Serrano filed the

pending motion to suppress wiretap evidence and physical evidence

seized during subsequent searches.       The defendant Urday moved to

join that motion on February 25, 2009.       On March 9, 2009, Judge

Woodlock referred the motion for random assignment to another

district judge and it was subsequently assigned to this session.

On that same day the government filed an opposition and the

defendant Castro filed a motion to join in the motion to

suppress.

II.   Analysis

      A.    Wiretap Standard

      Before authorizing the interception of wire communications

pursuant to Title III of the Omnibus Crime Control and Safe

Streets Act of 1986 (“Title III”), 18 U.S.C. §§ 2510-2522, a


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court must find probable cause and necessity.        See 18 U.S.C.

§ 2518; United States v. Santana, 342 F.3d 60, 65 (1st Cir.

2003).    To show sufficient probable cause an affidavit in support

of a wiretap application must demonstrate 1) probable cause to

believe that “an individual is committing, has committed, or is

about to commit” a criminal offense and 2) probable cause to

believe that “communications concerning that offense will be

obtained through such interception.” 18 U.S.C. § 2518(3)(a)-(b).

A finding of probable cause must be sustained if the facts set

forth in the affidavit were “minimally adequate to support the

determination that was made.”     Santana, 342 F.3d at 65 (quoting

United States v. Villarman-Oviedo, 325 F.3d 1, 9 (1st Cir.

2003)).

     With respect to necessity, Title III requires that a wiretap

application include

     a full and complete statement as to whether or not
     other investigative procedures have been tried and
     failed or why they reasonably appear to be unlikely to
     succeed if tried or to be too dangerous.

18 U.S.C. § 2518(1)(c).    To satisfy that requirement the

government make a “reasonable, good faith effort to run the gamut

of normal investigative procedures before resorting to means so

intrusive as electronic interception of telephone calls.”          United

States v. Hoffman, 832 F.2d 1299, 1306-07 (1st Cir. 1987).             A

reviewing court must uphold a wiretap if “the facts [in the

affidavit] are reasonably adequate to support the issuing judge’s

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implicit determination that other procedures reasonably appear to

be unlikely to succeed.”      United States v. Ashley, 876 F.2d 1069,

1074 (1st Cir. 1989).

     B.   Search Warrant Standard

     A search warrant application must demonstrate probable cause

to believe that 1) a crime has been committed (the commission

element) and 2) particular evidence of the offense will be found

at the place to be searched (the nexus element).        United States

v. Ribeiro, 397 F.3d 43, 48 (1st Cir. 2005).        Probable cause

exists when there is a “fair probability that contraband or

evidence of a crime will be found at a particular place.”

Illinois v. Gates, 462 U.S. 213, 238 (1983).        A prior judicial

determination of probable cause is entitled to great deference by

the reviewing court.    Id.   In considering the sufficiency of an

affidavit, a court must determine whether the “totality of the

circumstances” presented demonstrate probable cause.         United

States v. Strother, 318 F.3d 64, 67 (1st Cir. 2003).

     C.   Application

     The defendants contend that the authorizations for

electronic monitoring of Target Telephones #2 and #3 were not

supported by a showing of probable cause or a showing of

necessity.   Consequently, they argue, evidence obtained pursuant

to those wiretaps and all derivative evidence, including items

seized pursuant to the search warrants, must be suppressed.


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          1.    Probable Cause

     The defendants assert that the authorizations to monitor

Target Telephones #2 and #3 were based solely on Special Agent

Tamuleviz’s questionable interpretation of certain words as being

code for cocaine.   A review of the affidavits, however, reveals

ample probable cause to believe that both telephone numbers were

being used in connection with criminal activity.

     Tamuleviz’s belief that the terms “meat” and “tennis balls”

were used as code words for cocaine was more than a mere hunch.

Tamuleviz had 17 years of experience with drug investigations and

had learned that drug traffickers often speak in coded language.

More importantly, he knew from his involvement in this

investigation that the defendant Urday regularly used code when

discussing drugs over the telephone.      His conclusion that calls

made to Target Telephone #2 involved the ordering of drugs was

thus eminently reasonable.

     Furthermore, the belief that Urday was calling Target

Telephone #2 to purchase drugs was corroborated by physical

surveillance.   On one occasion police observed two men arrive at

Urday’s house on the morning after Urday arranged to have “two

tennis balls” delivered from Serrano.       One of the two went around

the back of the house just as Urday had discussed the day before

in his call with Serrano.     Although police found no drugs during

a subsequent traffic stop of those men, they did find $1,000 in


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cash in their possession and ascertained that one of the men was

then under indictment for drug trafficking.

     With respect to Target Telephone #3, agents intercepted

several telephone calls in which Serrano stated that he had

changed his number and that Target Telephone #3 was his “new

number.”   They also intercepted calls from Urday to that number

which involved coded conversations about drugs.        Thus, whatever

probable cause existed with respect to Target Telephone #2

applied equally to Target Telephone #3.

     The foregoing facts are more than “minimally adequate” to

support a finding of probable cause with respect to the wiretaps

on Target Telephones #2 and #3.      See Santana, 342 F.3d at 65.

           2.   Necessity

     The defendants challenge the government’s showing of

necessity by asserting that Tamuleviz’s affidavits contains mere

boilerplate allegations of necessity with little or no

relationship to the facts in this case.       Once again, however, a

review of the affidavits themselves indicates otherwise.          Special

Agent Tamuleviz’s statement of necessity (which is substantially

similar in both affidavits) was lengthy and fact specific.             It

detailed why nine alternative investigative techniques could not

be used in this case or had proven fruitless.        The fact that many

of the limitations identified are common to most drug

investigations is irrelevant.     United States v. Martinez, 452


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F.3d 1, 5-6 (1st Cir. 2006) (“Necessity is a function of the

specifics of the case, not its uniqueness.”).

     A major obstacle to most forms of traditional investigation

was the fact that law enforcement had been unable to ascertain

Tato’s identity.    Without knowing the identity of the target,

physical surveillance, trash pulls, search warrants and

undercover buys were almost impossible.

     Numerous investigative techniques were used in connection

with the investigation of Urday (including a wiretap of his

telephone).    Despite the use of those techniques for over a year,

however, law enforcement had only limited success in uncovering

other participants in the drug trafficking conspiracy and had

failed to ascertain the identity of Urday’s supplier or

suppliers.    Consequently, the statements of necessity with

respect to both Target Telephones #2 and #3 were adequate under

Title III.    See 18 U.S.C. § 2518(1)(c).

          3.     Search Warrants

     Having determined that the wiretaps were lawful there is

little left to the defendants’ contention that evidence obtained

pursuant to the search warrants must be suppressed.         Indeed, it

is unclear whether the defendants’ argument with respect to the

search warrants is entirely dependent on the Court first finding

that the wiretaps were unlawful.      Nevertheless, because Serrano’s

memorandum suggests that “[w]ith or without the statements


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gleaned from the illegal wiretaps,” the search warrants failed to

establish a nexus between illegal activity and the properties

searched, the Court will treat it as an independent argument.

     The affidavits submitted in support of the search warrants

for 93 Draper Street and 43 Dana Avenue expose a plethora of

facts from which the magistrate could reasonably conclude that

those properties were being used in connection with drug

activity.   With respect to 93 Draper Street (Serrano’s

residence), agents intercepted telephone calls in which Serrano

directed his suspected drug supplier to come by 93 Draper Street

to “pick up some garbage.”     Moreover, given the substantial

evidence of Serrano’s drug trafficking gleaned from intercepted

calls, it was incontestably reasonable to suspect that evidence

of such trafficking would be found in his home.        See United

States v. Feliz, 182 F.3d 82, 87-88 (1st Cir. 1999) (noting that

it was “reasonable to suppose that [a long-time, successful drug

trafficker] kept the money he collected and used in his business

in some safe yet accessible place”).

     With respect to 43 Dana Avenue, Hyde Park, or “the little

cave,” surveillance of that address and monitoring of Serrano’s

telephone clearly suggested that drugs were being stored inside.

For example, police observed the defendant Castro going to that

address immediately prior to delivering drugs to customers.

Furthermore, in one intercepted conversation, Serrano, apparently


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concerned about law enforcement, directed Castro to pack up stuff

at the little cave and bring it to 93 Draper Street, Dorchester.

Police subsequently observed Castro arriving at Draper Street

with three large trash bags.

     In sum, the affidavits provided ample probable cause to

believe that both the Hyde Park and Dorchester addresses were

being used in connection with drug trafficking and, therefore,

the evidence seized pursuant to those warrants will not be

suppressed.



                                 ORDER

     In accordance with the foregoing, the defendants’ motions to

join (Docket Nos. 47 and 54) are ALLOWED but the defendant

Serrano’s motion to suppress (Docket No. 40) is DENIED.



So ordered.
                                  /s/ Nathaniel M. Gorton
                                 Nathaniel M. Gorton
                                 United States District Judge
Dated June 25, 2009




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